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         EXHIBIT A
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 JOE ANDREW SALAZAR,

     Plaintiff,

     v.                                                 Civil Action No. 2:20-cv-4

 AT&T MOBILITY LLC,                                     JURY TRIAL DEMANDED
 SPRINT/UNITED MANAGEMENT
 COMPANY, T-MOBILE USA, INC.,
 AND CELLCO PARTNERSHIP D/B/A
 VERIZON WIRELESS,

     Defendants

     and

 HTC CORP., and HTC AMERICA, INC.,

     Intervenors.


           JOINT CLAIM CONSTRUCTION AND PREHEARING STATEMENT

       Pursuant to Eastern District of Texas Local Patent Rule 4-3 and the Court’s First Amended

Docket Control Order (Dkt. No. 83), Plaintiff Joe Andrew Salazar (“Plaintiff” or “Salazar”) and

Defendants    AT&T      Mobility   LLC     (“AT&T     Mobility”),    Sprint/United   Management

Company(“Sprint”), T-Mobile USA (“T-Mobile”), and Cellco Partnership, Inc. d/b/a Verizon

Wireless (“Verizon”) and Intervenors HTC Corp. and HTC America, Inc. (collectively,

“Defendants and Intervenors”) hereby submit this Joint Claim Construction and Prehearing

Statement pursuant to P.R. 4-3. The patent involved in this case is U.S. Patent No. 5,802,467 (“the

’467 Patent”), attached hereto as Exhibit A. The patent claims that are asserted in the above-

referenced case are claims 1-7, 27-30 and 34 of the ‘467 Patent.
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       A.      P.R. 4-3(a): Agreed Constructions, Points of Agreement and Request For
               Determination as Part of Markman Process


                      Term                                        Agreed Construction

 “A communications, command, control and               Preambles of independent claims 1 and 34 are
 sensing system for communicating with a               substantive limitations and the clause
 plurality of external devices comprising.”            “communications, command, control and
                                                       sensing system” in each such preamble does
                                                       not need to be further construed.

 “External device”                                     A device separate from the handset and the
                                                       base station.




       B.      P.R. 4-3(b): Proposed Constructions of Disputed Terms; Intrinsic and
               Extrinsic Evidence

       Plaintiff’s Proposed Constructions of Disputed Terms:

       Consistent with the principles of issue preclusion and the precedent of this Court, Plaintiff

proposes that the Court should adopt its claim construction decisions as set out in Salazar v. HTC

Corp., 2:16-cv-01096-JRG with respect to all asserted claims in this case.

       Additionally, Defendants and Intervenors’ P.R. 4-2 proposed expert witness testimony

disclosure is insufficient and lacks the necessary information or notice to permit rebuttal testimony

at this stage. Other than conclusory statements that Dr. Wolfe will explain “how a person of

ordinary skill in the art would understand the meaning of this term” and “that this term, when read

in light of the intrinsic record, fails to reasonably inform those skilled in the art about the scope of

the alleged invention,” Defendants provide no notice as to which term or set of terms within the

phrase at issue Dr. Wolfe believes is/are indefinite or the grounds/bases for his opinion.

       In Salazar v. HTC, Corp., (2:16-cv-01096-JRG), Defendants’ privy and Intervenor in this

case, HTC Corp., previously asserted (in the parties’ P.R. 4-3 disclosure) that it “objects to expert


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testimony because only intrinsic evidence is relevant to claim construction in this case.” See

Exhibit C. Defendants now assert that they will rely on expert testimony. Consistent with the

principles of issue preclusion, Plaintiff asserts that Defendants should be precluded from

introducing extrinsic evidence that they both argued was inappropriate and they did not introduce

in the prior case.

        In rebuttal to Defendants’ proposed extrinsic evidence, should the Court permit Dr. Wolfe

to testify, Plaintiff provides notice to Defendants that he intends to rely on the rebuttal testimony

of Dr. Oded Gottesman in compliance with Fed. R. Civ. P. 26(a)(2)(B)(i)-(ii). Dr. Gottesman will

testify (from the perspective of one with ordinary skill in the art at the time of the invention) in

rebuttal to Defendants’ claim that certain claim terms are indefinite.

        Plaintiff’s proposed constructions of each disputed claim term, phrase, or clause, together

with an identification of all references from the specification or prosecution history that support

that construction, and an identification of any extrinsic evidence known to Plaintiff on which it

intends to rely either to support Plaintiff’s proposed constructions or to oppose Defendants’

proposed constructions, including dictionary definitions and citations to learned treatises are

attached as Exhibit B.

        Defendant’s Proposed Constructions of Disputed Terms:

        A.      P.R. 4-3(c): Anticipated Length of Hearing.

        The claim construction hearing in this action is scheduled to occur on July 22, 2020 at 1:30

p.m. in Marshall, Texas before Judge Rodney Gilstrap. The parties anticipate that 3 hours will be

required, with each side being allotted 1.5 hours.

        B.      P.R. 4-3(d): Witnesses.



        C.      P.R. 4-3(e): Other Issues for a Prehearing Conference


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     None.




     Date: April 29, 2020                 Respectfully submitted,

                                          /s/
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